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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


GEORGIA SHIFT, et al.,                  :
                                        :
      Plaintiffs,                       :
                                        :
      v.                                :
                                        :
GWINNETT COUNTY, et al.,                :         CIVIL ACTION NO.
                                        :         1:19-CV-01135-AT
                                        :
      Defendants.                       :

                                    ORDER

      This matter is before the Court on Defendants’ Motions to Dismiss

Plaintiff’s Original Complaint [Docs. 41, 44, 45, 46], Defendants’ Motions to Stay

Discovery [Doc. 47, 53] pending a ruling on the Motions to Dismiss, the Cobb

County Defendants’ Motion for Leave to File Consolidated Brief in Excess of 25

Pages [Doc. 64], and Defendants’ Joint Motion to Stay Preliminary Discovery

[Doc. 73] pending a ruling on Defendants’ Motions to Dismiss Plaintiff’s

Amended Complaint.

      In response to Defendants’ motions to dismiss, Plaintiff filed an Amended

Complaint on May 30, 2019.        Plaintiff’s Amended Complaint replaced and

superseded the Original Complaint. See Malowney v. Fed. Collection Deposit

Grp., 193 F.3d 1342, 1345 n.1 (11th Cir. 1999) (“An amended complaint

supersedes an original complaint.”); Varnes v. Local 91, Glass Bottle Blowers

Ass’n, 674 F.2d 1365, 1370 n.6 (11th Cir. 1982) (“As a general rule, an amended
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complaint supersedes and replaces the original complaint unless the amendment

specifically refers to or adopts the earlier pleading.”). In light of Plaintiff’s having

filed the Amended Complaint, the Motions to Dismiss the Original Complaint

[Docs. 41, 44, 45, 46] are DENIED AS MOOT. Fountain v. Hyundai Motor Co.,

Civ. Action No. 1:15-CV-00446-ELR, 2016 WL 4361528, at *2 (N.D. Ga. Mar. 4,

2016) (Ross, J.) (“The filing of the amended complaint has rendered the

arguments contained in the first motion to dismiss moot.”); Mizzaro v. Home

Depot, Inc., No. Civ. A. 1:06-CV-11510, 2007 WL 2254693, at *3 (N.D. Ga. July

18, 2007) (Evans, J.) (dismissing as moot a motion to dismiss addressing the

original complaint following defendants’ acceding to the filing of an amended

complaint).

      The GRANTS Cobb County Defendants’ Motion for Leave to File

Consolidated Brief in Excess of 25 Pages [Doc. 64]. The Court will address

Defendants’ Motions to Dismiss the Amended Complaint in a separate Order.

      The Court DENIES AS MOOT Defendants’ Motions to Stay Discovery

[Doc. 47, 53] pending a ruling on the Motions to Dismiss and GRANTS

Defendants’ Joint Motion to Stay Preliminary Discovery [Doc. 73] pending a

ruling on Defendants’ Motions to Dismiss Plaintiff’s Amended Complaint.

      IT IS SO ORDERED this 25th day of November, 2019.



                                        __________________________________
                                        Amy Totenberg
                                        United States District Judge


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